Case 2:20-cv-00012-TSK Document 1 Filed 04/16/20 Page 1 of 11 PageID #: 1




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                                                                    2:20-CV-12 (Kleeh)
Case 2:20-cv-00012-TSK Document 1 Filed 04/16/20 Page 2 of 11 PageID #: 2
Case 2:20-cv-00012-TSK Document 1 Filed 04/16/20 Page 3 of 11 PageID #: 3
Case 2:20-cv-00012-TSK Document 1 Filed 04/16/20 Page 4 of 11 PageID #: 4
Case 2:20-cv-00012-TSK Document 1 Filed 04/16/20 Page 5 of 11 PageID #: 5
Case 2:20-cv-00012-TSK Document 1 Filed 04/16/20 Page 6 of 11 PageID #: 6
Case 2:20-cv-00012-TSK Document 1 Filed 04/16/20 Page 7 of 11 PageID #: 7
Case 2:20-cv-00012-TSK Document 1 Filed 04/16/20 Page 8 of 11 PageID #: 8
Case 2:20-cv-00012-TSK Document 1 Filed 04/16/20 Page 9 of 11 PageID #: 9
Case 2:20-cv-00012-TSK Document 1 Filed 04/16/20 Page 10 of 11 PageID #: 10
Case 2:20-cv-00012-TSK Document 1 Filed 04/16/20 Page 11 of 11 PageID #: 11
